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Exhibit 1
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COMMONWEALTH OF KENTUCKY

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DIVISION
CIVIL ACTION NO. 18-Cl-____gprprnnt ce COURT
DIVISION TWELVE (42)

 

 

 

 

 

 

CARDINAL SQUARE, LLC PLAINTIFF
“ FRCS OFFICE
AUED IN ICHOLSON, CLERK

ENVELOP GROUP, LLC; V5 MAY 18 2018
VALIDATED CUSTOM SOLUTIONS, LLC; Ws 7,
OPEN CONTROL SYSTEMS, LLC; 5K BY____ feat
LG ELECTRONICS U.S.A., INC,; an

Cli~ DEFENDANTS

COMPLAINT

Plaintiff Cardinal Square, LLC (hereinafter “Plaintiff”’), states as follows for its Complaint
against Defendants Envelop Group, LLC (hereinafter “Envelop Group”), Validated Custom
Solutions, LLC (hereinafter “VCS”), Open Control Systems (hereinafter “OCS”), and LG
Electronics U.S.A., Inc, (hereinafter “LG”), (collectively “Defendants”):

STATEMENT OF J URISDICTION

1. Plaintiff Cardinal Square, LLC is an Indiana limited liability company with its principal
place of business located at 666 E Main St. C-1, Centerville, MI 49032.

2. Envelop Group is an Indiana limited liability company with its principal place of business
located at 905 North Capitol Avenue, Indianapolis, IN, 46204. Upon information and belief
Envelop Group LLC owns and controls defendants Validated Custom Solutions, LLC and Open
Control Systems.

3. VCS is an Indiana limited liability company with its principal place of business located at

905 N. Capitol Ave., STE 200, Indianapolis, IN, 46204.

Exhibit No. 1

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Case 1:18-cv-03351-RLY-DLP Document1-1 Filed 07/02/18 Page 3 of 28 PagelD #: 8

4. OCS is an Indiana limited liability company with its principal place of business located
at 905 N. Capito! Ave., STE 200, Indianapolis, IN, 46204. |

5. LG is a Delaware corporation with its principal place of business located in Englewood
Cliffs, NJ.

6. Cardinal Square, LLC is the owner of two student housing apartment buildings called the
Village Promenade (hereinafter “Village Promenade”) located in at 1623 West University Avenue,
Muncie, [N 47303 and serves primarily as housing for college students at Ball State University. In
or around April 2013, Cardinal Square entered into a contract with VCS for the purchase of LG
Variable Refrigerant Flow HVAC systems and related equipment (hereinafter the “HVAC Units”)
for use in the Village Promenade. The contract, amongst other requirements, required that the
HVAC Units installed in the buildings function properly.

7. The HVAC Units did not meet the agreed specifications and since 2013, the HVAC Units
have experienced premature failures, including but not limited to failures of thermistors, sensors,
and boards as well as continued leaking of coolant and excess condensation from the defective
installation, commissioning and maintenance of the units. Despite Cardinal Square’s best efforts to
inform Defendants of these issues and provide them opportunities to correct their failures, the
HVAC Units have not worked properly and have caused significant damages to Cardinal Square.

8. This Court has subject matter jurisdiction over this action as Cardinal Square’s damages
exceed the required jurisdictional minimum.

9. Jurisdiction and venue are proper as Validated Custom Solutions and Cardinal Square
expressly agreed in the contract subject to this lawsuit that all disputes arising out of the contract

shall be submitted to a court of competent jurisdiction in Jefferson County, Kentucky.
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FACTS RELEVANT TO ALL CAUSES OF ACTION

10, On November 18, 2013, Cardinal Square, LLC, by and through its manager, Larry Gough,
executed a general construction contract with Whittenberg Construction Company. The work to
be performed under the contract was the construction of two student housing apartment buildings
in Muncie, Indiana (the Village Promenade) owned by Plaintiff.

11. In September 2013, Plaintiff engaged VCS in conversations to discuss the installation,
commissioning and maintenance of HVAC units for the Village Promenade.

12. Validated Custom Solutions (“VCS”) has knowledge, experience and expertise in
installing, commissioning, and maintenance of HVAC units and the use of same to third parties.

13. Cardinal Square has experience in development of residential student housing, but has no
expertise in installation, commissioning and maintenance of HVAC units.

14, Based on VCS’s knowledge, experience and expertise in installing, commissioning and
maintaining HVAC systems, Cardinal Square chose to contract with VCS for that purpose.

15. On November 6, 2013, Cardinal Square, LLC, by and through its manager, Larry Gough,
executed a Purchase Order with VCS (the “Purchase Order”), by and through VCS owner Dan
Fillenwarth, for the purchase, installation, commissioning and maintenance of the HVAC Units
for the Village Promenade (attached as Exhibit A).

16, The Purchase Order provided, among other things, that Cardinal Square, LLC was to pay
a total of $1,281 ,860.00 to VCS for purchase, installation and maintenance of the HVAC Units for
the two buildings at the Village Promenade.

17. The Purchase Order described the items to be delivered as follows:

All LG VRV HVAC equipment for Buildings #1 & #2. All equipment is to be an

equal to the specified Daikin units and as approved by the mechanical engineer.
Supplier is responsible to provide piping layouts to the HVAC subcontractors.
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18.The Purchase Order provided that VSC was responsible for the installation,
commissioning, checking, testing, startup and maintenance of the HVAC Units at the Village
Promenade,

19, The Village Promenade is composed of two buildings (‘Village Promenade Bldg. 1” and
Village Promenade Bldg. 2”).

20. VCS, and its agents, was responsi ble for the installation, startup and commissioning of the
HVAC Units at Village Promenade.

21. The LG equipment purchased and commissioned at the Village Promenade pursuant to the
Purchase Order included 20 condensing units and 218 fan coil units in Village Promenade Bldg. 1
and 16 condensing units and 166 fan coil units in Village Promenade Bldg. 2.

22. The city of Muncie, IN issued a certificate of occupancy on August 14, 2014 for the Village
Promenade,

THE HVAC UNITS AT CARDINAL SQUARE FAIL TO WORK PROPERLY

23. VCS or its agents started to bring the HVAC Unit systems on line as the Village Promenade
buildings were completed.

24. During much of the period that VCS provided servicing, maintaining, supporting and
repairing the HVAC Units, the HVAC Units failed to work properly, including but not limited to
failures of thermistors, sensors, and boards as well as continued leaking of coolant and excess
condensation from the defective installation, commissioning and maintenance of the HVAC Units.

25. Upon information and belief, and only recently discovered by Plaintiff, the HVAC Units
were not installed to manufacturer and engineering specifications.

26. Upon information and belief, and only recently discovered by Plaintiff, the HVAC Units

were not serviced to manufacturer and engineering specifications.
Case 1:18-cv-03351-RLY-DLP Document 1-1 Filed 07/02/18 Page 6 of 28 PagelD #: 11

27. VCS continually represented to Cardinal Square that the HVAC Units installed at Village
Promenade were equivalent to specified Daikin units as required by the Purchase Order.

28. The HVAC Units installed at Village Promenade were not equivalent to the specified Daikin
units as required by the Purchase Order.

' 29. The HVAC Units do not perform their essential function of heating and/or cooling rendering
them useless or of significantly diminished value long before the end of their reasonably expected
useful life. The defects also present risks to the safety of consumers due to the inability to control
the temperature in the rooms and/or buildings where they were installed. The defects have also
damaged the Plaintiffs’ buildings. The defects, including refrigerant leaks, among others, present
numerous known and unknown hazards.

30. After the HVAC Units were installed by and being maintained and serviced by VCS, VCS
continued to represent to Cardinal Square that the malfunctions occurring to the HVAC Units were
part of normal wear and tear and that the HVAC Units were equal to specified Daikin units as
required by the Purchase Order.

31. According to the Purchase Order, VCS provided a warranty for the HVAC Units “against
all deficiencies and defects in materials and/or workmanship.”

32. The warranties provided by VCS in the Purchase Order were “for a period of one (1) year
from the date(s) of substantial completion” and provides that “[rJepair or replacement of materials
after substantial completion/acceptance renews and restarts the warranty period for those
repaired/replaced items.”

33. At various points in time between the initial installation of the HVAC Units until recently,
VCS, by and through various agents, provided service to the HVAC Units at Village Promenade

as required by the warranties.
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34, VCS*s words, actions, misstatements and omissions relating to this dispute constitute

breach of contract and negligence, among other causes of action known, and to be discovered.

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CouNT 1: BREACH OF CONTRACT

Plaintiff incorporates by reference the allegations in paragraphs | through 34 as if fully set
forth herein,
Plaintiff entered into a Purchase Order with VCS for the purchase, installation and servicing
of the HVAC Units.
The Purchase Order contained express warranties whereby VCS was to provide certain
warranties for its materials against all deficiencies and defects.
The HVAC Units have not functioned properly, have failed prematurely and have caused
damage to Plaintiff's equipment and buildings.
In connection with VCS’s acts and/or omissions relating to this action, including, but not
limited to, the actionable conduct set forth above, VCS is in breach of the Purchase Order,
which includes, but is not limited to, breach of express warranties.
Plaintiff has performed all contractual conditions required of it.
Plaintiff has suffered and will continue to suffer damages as a result of the acts describe
above, and is therefore entitled to compensatory, consequential, and incidental damages
from VCS, as well as attorneys’ fees, costs, expenses, and all other relief as may be
appropriate.

COUNT 2; BREACH OF IMPLIED WARRANTIES
Plaintiff incorporates by reference the allegations in paragraphs 1 through 41 as if fully set

forth herein.
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At all relevant times, LG was and is in the business of selling, commissioning and servicing
HVAC units.
At all times relevant herein, LG impliedly warranted in a uniform manner to Plaintiff that
the HVAC Units were of the same or greater quality as generally accepted for HVAC Units
and were safe and fit for their intended use as air conditioners.
Contrary to LG’s implied warranties, the HVAC Units were not of merchantable quality at
the time of sale, as they were not fit for the ordinary purposes for which such goods are used
and/or do not conform to the promises or affirmations of fact made to Plaintiff. The HVAC
Units contained inherent, latent defects at the time of sale that were substantially certain to
result in malfunction during the useful life of the product such that the HVAC Units would
not perform their essential functions.

COUNT 3: NEGLIGENCE
Cardinal Square incorporates by reference the allegations in paragraphs 1 through 45 as if
fully set forth herein.
At all relevant times, VCS owed a duty to exercise reasonable care towards Plaintiff.
At all relevant times, VCS owed a duty to exercise reasonable care in the installation,
startup, commissioning, inspection, servicing and maintenance of the HVAC Units.
In connection with the installation, commissioning and servicing of the HVAC Units, VCS
had a duty to comply with all applicable standards of care, statutes, rules, regulations,
specifications and policies in their design, installation, inspection, and maintenance of the
HVAC Units.
VCS breached its duties by failing to properly install, startup, commission, and service the

HVAC Units for Plaintiff.
Case 1:18-cv-03351-RLY-DLP Document 1-1 Filed 07/02/18 Page 9 of 28 PagelD #: 14

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As a direct, proximate and foreseeable result of VCS’s misconduct, Plaintiff suffered harm,
including but not limited to: loss of rent, damage to property other than the HVAC Units,
damage to Cardinal Square’s reputation and cost to repair the HVAC Units and other
attendant structures.

Count 4: Propucts LIABILITY: STRICT LIABILITY

. Plaintiff incorporates by reference the allegations in paragraphs | through 51 as if fully set

forth herein.

LG is the designer, manufacturer and seller of the HVAC Units at Village Promenade.

LG was in the business of designing, manufacturing and selling HVAC units at the time
the HVAC Units were installed at Village Promenade.

LG placed the HVAC Units into the stream of commerce.

The HVAC Units were defective and unreasonably dangerous at the time they were placed
into the stream of commerce by LG.

Plaintiff is in the class of persons which LG should reasonably have foreseen would suffer
damages from the defective nature of the HVAC Units.

The HVAC Units reached Plaintiff's location without substantial alteration.

The HVAC Units were unreasonably dangerous to Plaintiff's property.

LG failed to properly package or label the HVAC Units with reasonable warnings about
its dangers and failed to give reasonable complete instructions about the proper use of the
product.

Plaintiff has suffered damage due to the defective nature of the HVAC Units.
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CouNT 5: PRopucTS LIABILITY: NEGLIGENCE

62. Plaintiff incorporates by reference the allegations in paragraphs 1 through 61 as if fully set
forth herein.

63. LG failed to use reasonable care in designing the HVAC Units at issue, in manufacturing
the HVAC Units at issue, in marketing and selling the HVAC Units at issue, in failing to
warn Plaintiff about the danger of the HVAC Units when LG knew, or should have known,
or should have discovered the danger and selling and putting the HVAC Units into the
stream of commerce when they were in a defective condition unreasonable dangerous to
users and/or consumers.

64. LG was negligent in its failure to use reasonable care by doing something a reasonably
careful person would not do in a similar situation, and/or failing to do something a
reasonably careful person would do in a similar situation.

| 65. As a direct and proximate result of the carelessness and negligence of LG in failing to
design, manufacture, market, instal] and maintain the HVAC Units in a reasonably safe
condition, Plaintiff suffered damages.
| WHEREFORE, Cardinal Square, LLC demands as follows:
| 1. All recoverable compensatory, actual, incidental, consequential, and all other
damages prayed for herein, in an amount to be proven at trial and in excess of the jurisdictional
minimum of this Court;
2. Payment of reasonable attorneys’ fees and costs as may be allowable under
applicable law;
3. Trial by jury on all issues so triable;

4, For leave to file amended pleadings, as justice requires; and
Case 1:18-cv-03351-RLY-DLP Document1-1 Filed 07/02/18 Page 11 of 28 PagelD #: 16

   
   

 

5. All other appropriate relief in law or in equity to which it may now or hereafter be
entitled.
Respectfully submitted,
GADDIS & MATTHEWS PLLC
ad VAM A
f tL LC LOCE <
Jonathan H. Matthews 9 “~~

1800 Stevens Ave.
Louisville, Kentucky 40205

Phone: (502) 805-2303
jon@gaddismatthews.com

Counsel for Plaintiff Cardinal Square, LLC

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COMMONWEALTH OF KENTUCKY
JEFFERSON CIRCUIT COURT
DIVISION TWELVE (12)
CIVIL ACTION NO. 18-CI-02870

CARDINAL SQUARE, LLC PLAINTIFF

Vv.

  

ENVELOP GROUP, LLC; 95
VALIDATED CUSTOM SOLUTIONS, MLC:
OPEN CONTROL SYSTEMS, LLC; $f
LG ELECTRONICS U.S.A., INC. (if

 

  

DEFENDANTS

AMENDED COMPLAINT
Plaintiff Cardinal Square, LLC (hereinafter “Plaintiff” or “Cardinal Square”), states as
follows for its Complaint against Defendants Envelop Group, LLC (hereinafter “Envelop Group”),
Validated Custom Solutions, LLC (hereinafter “VCS”), Open Control Systems (hereinafter
“OCS”), and LG Electronics U.S.A., Inc. (hereinafter “LG”), (collectively “Defendants”):
STATEMENT OF JURISDICTION

1. Plaintiff Cardinal Square, LLC is an Indiana limited liability company with its principal
place of business located at 666 E Main St. C-1, Centerville, MI 49032.

2. Envelop Group is an Indiana limited liability company with its principal place of business
located at 905 North Capitol Avenue, Indianapolis, IN, 46204. Upon information and belief
Envelop Group LLC owns and controls defendants Validated Custom Solutions, LLC and Open
Control Systems, LLC.

3. VCS is an Indiana limited liability company with its principal place of business located at

905 N. Capitol Ave., STE 200, Indianapolis, IN, 46204.
Case 1:18-cv-03351-RLY-DLP Document 1-1 Filed 07/02/18 Page 13 of 28 PagelD #: 18

4. OCS is an Indiana limited liability company with its principal place of business located at
905 N. Capitol Ave., STE 200, Indianapolis, IN, 46204. Upon information and belief OCS is
owned and controlled by defendant Envelop Group, LLC. Upon information and belief OCS is, an
agent, and acted as an agent of VCS at all relevant times herein.

5. LG is a Delaware corporation with its principal place of business located in Englewood
Cliffs, NJ.

6. Plaintiff is the owner of two student housing apartment buildings called the Village
Promenade (hereinafter “Village Promenade”) located in at 1623 West University Avenue,
Muncie, IN 47303 and serves primarily as housing for college students at Ball State University. In
or around April 2013, Plaintiff entered into a contract with VCS for the purchase of LG Variable
Refrigerant Flow HVAC systems and related equipment (hereinafter the “HVAC Units”) for use in
the Village Promenade. The contract, amongst other requirements, required that the HVAC Units
installed in the buildings function properly.

7. The HVAC Units did not meet the agreed specifications and since 2014, the HVAC Units
have experienced premature failures, including but not limited to failures of thermistors, sensors,
and boards as well as continued leaking of coolant and excess condensation from the defective
commissioning, checking, testing and maintenance of the units. Despite Plaintiff's best efforts to
inform Defendants of these issues and provide them opportunities to correct their failures, the
HVAC Units have not worked properly and have caused significant damages to Plaintiff.

8. This Court has subject matter jurisdiction over this action as Plaintiff's damages exceed

the required jurisdictional minimum.
Case 1:18-cv-03351-RLY-DLP Documenti1-1 Filed 07/02/18 Page 14 of 28 PagelD #: 19

9. Jurisdiction and venue are proper as VCS and Plaintiff expressly agreed in the contract
subject to this lawsuit that all disputes arising out of the contract shall be submitted to a court of
competent jurisdiction in Jefferson County, Kentucky.

FACTS RELEVANT TO ALL CAUSES OF ACTION

10. On November 18, 2013, Plaintiff, by and through its manager, Larry Gough, executed a
general construction contract with Whittenberg Construction Company. The work to be performed
under the contract was the construction of two student housing apartment buildings in Muncie,
Indiana (the Village Promenade) owned by Plaintiff.

11. In September 2013, Plaintiff engaged VCS in conversations to discuss the installation,
commissioning and maintenance of HVAC units for the Village Promenade.

12. In or around September 2013, VCS, by and through its agent Dan Fillenwarth, represented
to Plaintiff as inducement to enter into a contract that the HVAC Units would be equivalent to,
and perform better than, specified Daiken brand HVAC units which Plaintiff owned and used in
other residential properties owned by Plaintiff.

13. LG, by and through its agent Dan Hansen, also made representations to Plaintiff that the
HVAC Units would be equivalent to, and perform better than, specified Daiken brand HVAC units
which Plaintiff owned and used in other residential properties owned by Plaintiff.

14. VCS had knowledge of the specified Daiken brand HVAC units owned by Plaintiff and of
their performance.

15. In fact, VCS knew that the HVAC Units were not equivalent to the Daiken brand HVAC

units owned and utilized by Plaintiff in Plaintiff's other residential properties.
Case 1:18-cv-03351-RLY-DLP Document 1-1 Filed 07/02/18 Page 15 of 28 PagelD #: 20

16. VCS also represented to Plaintiff that the HVAC Units would perform better and require
less maintenance costs than specified Daiken brand HVAC units which Plaintiff owned and used
in other residential properties owned by Plaintiff.

17. VCS has knowledge, experience and expertise in installing, commissioning, and
maintenance of HVAC units and the use of same to third parties.

18. Cardinal Square has experience in development of residential student housing, but has no
expertise in installation, commissioning and maintenance of HVAC units.

19. Based on VCS’s knowledge, experience and expertise in installing, commissioning and
maintaining HVAC systems, Plaintiff chose to contract with VCS for that purpose.

20. On November 6, 2013, based on the representations made by VCS, Cardinal Square, LLC,
by and through its manager, Larry Gough, executed a Purchase Order with VCS (the “Purchase
Order”) by and through VCS owner Dan Fillenwarth, for the purchase, commissioning, checking,
testing, start-up and maintenance of the HVAC Units for the Village Promenade (attached as
Exhibit A).

21. The Purchase Order provided, among other things, that Cardinal Square, LLC was to pay
a total of $1,281,860.00 to VCS for purchase, commissioning, checking, testing, start-up and
maintenance of the HVAC Units for the two buildings at the Village Promenade.

22. The Purchase Order described the items to be delivered as follows:

All LG VRV HVAC equipment for Buildings #1 & #2. All equipment is to be an
equal to the specified Daikin units and as approved by the mechanical engineer.
Supplier is responsible to provide piping layouts to the HVAC subcontractors.

23. The Purchase Order provided, among other things, that VSC was responsible for the,

commissioning, checking, testing, start-up and maintenance of the HVAC Units at the Village

Promenade.
Case 1:18-cv-03351-RLY-DLP Document 1-1 Filed 07/02/18 Page 16 of 28 PagelD #: 21

24, The Village Promenade is composed of two buildings (“Village Promenade Bldg. 1” and
Village Promenade Bldg. 2”).

25. VCS, and its agents, were responsible for the testing, startup and commissioning of the
HVAC Units at Village Promenade.

26. The LG equipment purchased and commissioned at the Village Promenade pursuant to the
Purchase Order included 20 condensing units and 218 fan coil units in Village Promenade Bldg. 1
and 16 condensing units and 166 fan coil units in Village Promenade Bldg. 2.

27. The city of Muncie, IN issued a certificate of occupancy on August 14, 2014 for the Village
Promenade.

THE HVAC UNITS AT CARDINAL SQUARE FAIL TO WORK PROPERLY

28. VCS or its agents started to bring the HVAC Unit systems on line as the Village Promenade
buildings were completed.

29. During much of the period that VCS (and its agents, including but not limited to OCS),
provided servicing, maintaining, supporting and repairing the HVAC Units, the HVAC Units
failed to work properly, including but not limited to failures of thermistors, sensors, and boards as
well as continued leaking of coolant and excess condensation from the defective start-up,
commissioning and maintenance of the HVAC Units.

30. Upon information and belief, and only recently discovered by Plaintiff, the HVAC Units
were not commissioned by VCS to generally accepted industry standards and best practices for
HVAC commissioning,

31. Upon information and belief, and only recently discovered by Plaintiff, the HVAC Units
were not serviced by VCS or its agents, including but not limited to OCS, to manufacturer and

engineering specifications.
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32. VCS continually represented to Cardinal Square that the HVAC Units installed at Village
Promenade were equivalent to specified Daikin units as required by the Purchase Order.

33. Pursuant to the Purchase Order, VCS was responsible for commissioning and testing the
HVAC Units to ensure proper functioning.

34. Pursuant to the Purchase Order, VCS was responsible for approving that the installation of
the HVAC Units was done properly and that the HVAC Units were ready for start-up.

35. It was VCS’s responsibility in commissioning the HVAC Units to approve there were no
installation deficiencies, or other deficiencies, with respect to the HVAC Units.

36. By commissioning, checking and approving start-up of the HVAC Units installed at
Village Promenade, VCS represented to Plaintiff that the HVAC Units were installed properly,
were working properly and were fit for their intended use.

37. During the installation of the HVAC Units, VCS periodically came to the Village
Promenade to inspect the installation and never notified Plaintiff of any installation deficiencies.

38. VCS commissioned and tested the HVAC Units prior to initial start-up and never notified
Plaintiff of any deficiencies with any of the subcontractors performing the installation.

39. The HVAC Units installed at Village Promenade were not equivalent to the specified Daikin
units as required by the Purchase Order.

40. The HVAC Units do not perform their essential function of heating and/or cooling rendering
them useless or of significantly diminished value long before the end of their reasonably expected
useful life. The defects also present risks to the safety of consumers due to the inability to control
the temperature in the rooms and/or buildings where they were installed. The defects have also
damaged the Plaintiffs’ buildings. The defects, including refrigerant leaks, among others, present

numerous known and unknown hazards.
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41. After the HVAC Units were commissioned and being maintained and serviced by VCS, VCS
continued to represent to Cardinal Square that the malfunctions occurring to the HVAC Units were
part of normal wear and tear and that the HVAC Units were equal to specified Daikin units as
required by the Purchase Order.

42. According to the Purchase Order, VCS provided a warranty for the HVAC Units “against
all deficiencies and defects in materials and/or workmanship.”

43. The warranties provided by VCS in the Purchase Order were “for a period of one (1) year
from the date(s) of substantial completion” and further provides that “[r]epair or replacement of
materials after substantial completion/acceptance renews and restarts the warranty period for those
repaired/replaced items.”

44, The Purchase Order did not contain any waiver of implied warranties.

45. At various points in time between the initial installation of the HVAC Units until recently,
VCS, by and through various agents, provided service to the HVAC Units at Village Promenade
as required by the warranties.

46. On several occasions, including on or about August 17, 2017, VCS performed a full
recommissioning and attempted repair of the HVAC Units.

47. After the HVAC Units started to malfunction, VCS, by and through its agent Dan
Fillenwarth, continually represented to Plaintiff that VCS would honor and extend the warranties
provided to Plaintiff presumably for the purpose of delaying any legal action by Plaintiff against
VCS. In fact, VCS did not honor or extend warranties in conformance with its representations.

48. VCS’s words, actions, misstatements and omissions relating to this dispute constitute
breach of contract, breach of warranties, misrepresentation, fraud, and negligence, among other

causes of action known, and to be discovered.
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CounrT 1: BREACH OF CONTRACT
49. Plaintiff incorporates by reference the allegations in paragraphs 1 through 48 as if fully set
forth herein.
50. Plaintiff contracted with VCS for the purchase, start-up, checking, commissioning,
maintenance and servicing of the HVAC Units.
51. The Purchase Order contained, among other things, express warranties whereby VCS was
to provide certain warranties for its materials against all deficiencies and defects.
! 52. The HVAC Units were not equivalent to the specified Daiken brand HVAC units as
required in the Purchase Order.

53. The HVAC Units have not functioned properly, have failed prematurely and have caused
damages to the Plaintiff.

54. In connection with VCS’s acts and/or omissions relating to this action, including, but not
limited to, the actionable conduct set forth above, VCS is in breach of the Purchase Order, which
includes, but is not limited to, breach of express and implied warranties.

55. Plaintiff has performed ail contractual conditions required of it.

56. Plaintiff has suffered and will continue to suffer damages as a result of the acts described
above, and is therefore entitled to compensatory, consequential, and incidental damages from
VCS, as well as attorneys’ fees, costs, expenses, and all other relief as may be appropriate.

COUNT 2: BREACH OF IMPLIED WARRANTIES

57. Plaintiff incorporates by reference the allegations in paragraphs 1 through 56 as if fully set
forth herein.

58. At all relevant times, LG was and is in the business of selling, commissioning and servicing

HVAC units.
Case 1:18-cv-03351-RLY-DLP Document 1-1 Filed 07/02/18 Page 20 of 28 PagelD #: 25

59. Plaintiff bought the HVAC Units which were manufactured, marketed to them, warranted,
and intended to be purchased by buyers such as Plaintiff, by LG, and are in privity with LG through
its purchase of the HVAC Units.

60. Plaintiff had sufficient direct dealings with LG or its agents to establish privity of contract
between Plaintiff and LG.

61. Further, Plaintiff is an intended third-party beneficiary of contracts between LG and VCS;
specifically, Plaintiff is the intended beneficiary of LG’s express and implied warranties. VCS was
not intended to be the ultimate buyers of the HVAC Units; the warranties were designed for and
intended to benefit the ultimate buyers such as Plaintiff only. Moreover, privity is not required
where a manufacturer makes representations directly to the intended buyer, as LG did here.

62. At all times relevant herein, LG impliedly warranted in a uniform manner to Plaintiff that
the HVAC Units were of the same or greater quality as generally accepted for HVAC Units and
were safe and fit for their intended use as air conditioners.

63. Contrary to LG’s implied warranties, the HVAC Units were not of merchantable quality at
the time of sale, as they were not fit for the ordinary purposes for which such units are used and/or
do not conform to the promises or affirmations of fact made to Plaintiff. The HVAC Units
contained inherent, latent defects at the time of sale that were substantially certain to result in
malfunction during the useful life of the product such that the HVAC Units would not perform
their essential functions.

COUNT 3: MISREPRESENTATION
64. Plaintiff incorporates by reference the allegations in paragraphs 1 through 63 as if fully set

forth herein.
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65. By the words and actions set forth herein, VCS made material representations to Plaintiff
which were false and/or intentionally misleading.

66. VSC made these false, material representations to Plaintiff knowing them to be false, or
made such false, material representations recklessty.

67. VSC made these false, material representations to induce Plaintiff to act, or refrain from
acting, including but not limited to entering into contracts, agreeing to purchase additional services
and products to service the HVAC Units and agreeing not to terminate the business relationship
when the HVAC Units were failing.

68. Plaintiff relied on these false, material representations when acting, or refraining from
acting, as the case may be.

69. Plaintiff has suffered and will continue to suffer damages as a result of the acts describe
above, and is therefore entitled to compensatory, consequential, and punitive damages from VCS,
as well as attorneys’ fees, costs, expenses, and all other relief as may be appropriate.

Count 4: FRAUDULENT CONCEALMENT

70. Plaintiff incorporates by reference the allegations in paragraphs 1 through 69 as if fully
set forth herein.

71. In connection with the acts, omissions and transactions set forth above, VCS intentionally
and/or recklessly concealed material information from Plaintiff.

72. VCS intentionally and/or recklessly concealed material information from Plaintiff
intending that Plaintiff act, or refrain from acting, in ignorance of the material information that

VCS was concealing.

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73. Plaintiff has suffered and will continue to suffer damages as a result of the acts described
above, and is therefore entitled to compensatory, consequential, and punitive damages from VCS,
as well as attorneys’ fees, costs, expenses, and all other relief as may be appropriate.

Count 5; FRAUDULENT INDUCEMENT

74. Plaintiff incorporates by reference the allegations in paragraphs 1 through 73 as if fully
set forth herein.

75. VCS made false, material misrepresentations to Plaintiff knowing them to be false, or
made them recklessly without regard to the truth or falsity of the misrepresentations. VCS also
failed to disclose material information to Plaintiff.

76. VCS made false, material misrepresentations and omissions intending that they be acted
upon by Plaintiff, and to secure Plaintiff's agreement to contracts and services to be provided to
Plaintiff.

77. Plaintiff acted upon, or refrained from acting upon, VCS’s false, material
misrepresentations and omissions to Plaintiff's detriment.

78. Plaintiff has suffered and will continue to suffer damages as a result of the acts describe
above, and is therefore entitled to compensatory, consequential, and punitive damages from VCS,

as well as attorneys’ fees, costs, expenses, and all other relief as may be appropriate.

COUNT 6: NEGLIGENCE
79. Plaintiff incorporates by reference the allegations in paragraphs | through 78 as if fully set
forth herein.

80. At all relevant times, VCS owed a duty to exercise reasonable care towards Plaintiff.

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81. Atall relevant times, VCS owed a duty to exercise reasonable care in the startup, checking,
commissioning, inspection, servicing and maintenance of the HVAC Units.

82. In connection with the start-up, checking, commissioning and servicing of the HVAC
Units, VCS had a duty to comply with all applicable standards of care, statutes, rules, regulations,
specifications and policies in their design, installation, inspection, and maintenance of the HVAC
Units.

83. VCS breached its duties by failing to properly check, startup, commission, and service the
HVAC Units for Plaintiff,

84. Asa direct, proximate and foreseeable result of VCS’s misconduct, Plaintiff suffered harm,
including but not limited to: loss of rent, damage to property other than the HVAC Units, damage
to Cardinal Square’s reputation and cost to repair the HVAC Units and other attendant structures.

COUNT 7: PRODUCTS LIABILITY: STRICT LIABILITY

85. Plaintiff incorporates by reference the allegations in paragraphs | through 84 as if fully set
forth herein.

86. LG is the designer, manufacturer and seller of the HVAC Units at Village Promenade.

87. LG was in the business of designing, manufacturing and selling HVAC units at the time
the HVAC Units were installed at Village Promenade.

88. LG placed the HVAC Units into the stream of commerce.

89. The HVAC Units were defective and unreasonably dangerous at the time they were placed
into the stream of commerce by LG.

90. Plaintiff is in the class of persons which LG should reasonably have foreseen would suffer
damages from the defective nature of the HVAC Units.

91. The HVAC Units reached Plaintiffs location without substantial alteration.

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92. The HVAC Units were unreasonably dangerous to Plaintiff's property.

93. LG failed to properly package or label the HVAC Units with reasonable warnings about
its dangers and failed to give reasonable complete instructions about the proper use of the product.

94. Plaintiff has suffered damage due to the defective nature of the HVAC Units.

Count 8: Propucts LIABILITY: NEGLIGENCE

95. Plaintiff incorporates by reference the allegations in paragraphs 1 through 94 as if fully set
forth herein.

96. LG failed to use reasonable care in designing the HVAC Units at issue, in manufacturing
the. HVAC Units at issue, in marketing and selling the HVAC Units at issue, in failing to warn
Plaintiff about the danger of the HVAC Units when LG knew, or should have known, or should
have discovered the danger and selling and putting the HVAC Units into the stream of commerce
when they were in a defective condition unreasonable dangerous to users and/or consumers.

97. LG was negligent in its failure to use reasonable care by doing something a reasonably
careful person would not do in a similar situation, and/or failing to do something a reasonably
careful person would do in a similar situation.

98. As a direct and proximate result of the carelessness and negligence of LG in failing to
design, manufacture, market, install and maintain the HVAC Units in a reasonably safe condition,
Plaintiff suffered damages.

WHEREFORE, Cardinal Square, LLC demands as follows:
1, All recoverable compensatory, actual, incidental, consequential, and all other
damages prayed for herein, in an amount to be proven at trial and in excess of the jurisdictional

minimum of this Court;

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2. Payment of reasonable attorneys’ fees and costs as may be allowable under
applicable law;

3. Trial by jury on all issues so triable;

4. For leave to file amended pleadings, as justice requires; and °
: 5. All other appropriate relief in law or in equity to which it may now or hereafter be
! entitled.
|
Respectfully submitted,

GADDIS & MATTHEWS PLLC

A “hd aN
2 nathan H. Matthews
1800 Stevens Ave.
Louisville, Kentucky 40205
Phone: (502) 805-2303
jon@gaddismatthews.com
Counsel for Plaintiff Cardinal Square, LLC

 
  

 

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EXHIBIT A
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Cardinal Square, LLC.

666 E. Main St, Suite C-1
Centreville, MI 49032

Purchase Order- Ball State Student Housing- Village Renovation

Date: 25-Oct-13
P,O.#: #0454-OWNERPOO01
Cost Code: HVAC Equipment
alldated Custom Solutions
128 North College Ave.
dianapolis, IN 46220
ttn: Dan Fillenwarth Ship to:
Balt State Student Housing- Village Renovation
clo Whittenberg Construction Company
324 N. Martin Street
Muncie, IN 47303
Attn: Bobby Smith

ease enter the following order in accordance with the specifications, plans (see attached list), addenda (1-4 & MEP PB Addendum #1)
id the terms and conditions listed herein,

 

 

ay VOM Description Unit Price Total

! Lump Sum = fAULG VRY HVAC equipment for Buildings #1 & #2. $1, 198,000.00 $1, 198,000.00
All equipment is to be an equal to the specified Daikin
units and os appraved by the mechanical enginecr.
Sopplier is responsible 1o pravide piping layouts to the
HVAC subcontractors. vee ee. .. a
tf Limp Sum__ [Indiana State Sales tax $83,860.00 $33,860.00

PO Total $4,284,860.00

 

 

 

 

 

 

 

 

IPORTANT: All shipping notices, freight bliis and invoices shall include the Purchase Order No, and the Name of the Project.

| bills should be mailed lo: Whittenberg Gonstruction Company; 4774 Allmond Avanuo; Loulsville, KY 40209; Attn: Accounts Payables,
| detiveries must be verified with Bobby Smith, the project superintendent at 502-664-7711, 24 hours prior ta delivery.

intative Ship Date: As needed VIA: The Best Way F,0.8,: Jobsite

ERMS:

Net 30 days.

This P.O, includes Indiana sales tux.

No fuel surcharge is allowed.

Price is good for the duradion of the project.

Purchase orderis contingent on approved submiltals.

Includes alt commissioning, check, test, & start-up, 1at year labor warranty, 2 year manufacturers parts only warranty for afl units and @ year comprasser parts only warranty for LG
V HVAC equipment as required.

LG Equipment representative to perform inspections as neccesary ln omer to maintain project schedule,

Equipment is to be shipped as required (Coordination with HVAC subcontractors is included).

tncludes energy montioring system: A total of 7 (4 in building #1, 3 In building #2) AC Smart Touchscreen central controllers with expansion card for all unils The AC smart system
capable of monitoring ali the LG systems and natlfying the owner, VCS, or an independent service contractor it any alarms are activated. Malfunction reporting- The servica shall
ovide iminediate nobfication of @ system maifuncton via e-mail to the owner, installing contractor, arid loval LG service company. This service shall be provided tc the customer

o of charge for a period of 12 months from day of start-up of the system

PARTIES: Whittenberg Construction Company Is hereafter referred to as the "WGC" and the company above wil hereafter be referrad to as the “Vendor. The owner af the project
| be referted to heieafier aa “Owner” This Purchase Order hereafier referred to as “Order may be used to pluchase services, supplies, machinery, aguipment and other goods
SCOPE OF WORK; The Vendor shall dellver this Order tn strict conformance wih the Plans, Specitications, Addenda 1 thru 4, and the Terms of this Order, all of which have
en examined by ihe Vendor prior to the execution of this Order. The material(s) shall be delivered ai the direction of WCC based upon a mutually agreoabla delivery
nedule

PRICE: Ag full compensatiun for delivery of the Order, WCC agrees to pay ¢he Vendor in current funds the price set fort above for the satizfactory lulfiliment of tha Order.
e Vender agrses thal he will furnish a waiver of lian, waiver ot rights to claim agalnst Payment Bond for this project as WCC may raquire from timo tc time.

SHOP DRAWINGS: The Vendor shalt promptly submit for approval to WCC all shop drawings, samples, product data, manufacturers’ literature and simttar submittels
sroater referred to as “submitals’) requirad by WCC's contra! with tha owner within $0 days of the receipt of this Order. The Vendor shall be responsible to WCC for the
curacy and conturmiy of {ts submittals to the Order The approval of any Vendor submittal shail not be deemed to authorize deviations, substitutions or changes in the
quirements of the Order unless express weitten approval is obtained from WOC authorizing such doviation, substitution or change. WCC (s.antliled to rely on the accuracy and
mpletonoss of any professional cerlifications roquired by the Order concerning tha performance -criteda of systams, equipment or matoriata, Including alt calculations refating
sete and any governing performance requirements. ff Vendor is responsible fer design, Vendor shail accept afl responsibility for structural and functional adequacy af such
awings and acceptance by WOC Any strictural or tunctional fallure or inadequacy which may result from auch design shall be remedied by the Vendor. In addition, the
onder shalt baar afi resultant costssuch as work by othar trades or contractor(s). architectural and engineering charges, loss of rent, and any damages

SCHEOULE: WCC ‘shall prepare the schedute: for dallvery of the Order and shall revise and update such schedule, as necessary, as the project progresses (Original
bedulé is baned schedttla wilh-a run date of October 7, 2013) The Vendor.shall be bound by the schedvie of detivertes, Including all amendments provided the Vendor is
omiplly and reasonably nollfied in advance of the schedule of dalivery changa WCC may alits discretion delay delivery of the whole or part of the order ag lt sees fit Failure to
livar matorials as roquirad per the schedtde may result in liquidated damages per the WCCrownor contract
TITLE AND RISK: Regardiass of the F OB. point, tile end sk of loss shall remain with the Vendor until the-Order haa bedn delivered and accepted by WCC. Upon
tification of shortages or damages, the Vendar:shall make good the shorlage or daniaged matarlals In question. Whenever It Is useful or necessary for WCC to do 50, WCC
all ba pormitiod to use any of ihe material(s) which have beon dolivered to replace material shoriages or defects. The Vendor shall remedy any defect in materials or

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workmansiip which may occur as required by WCC.
G. COMPLIANCE WITH THE LAW: The: Vendor watrents that tho Order will not violate or cause WGC or the Owner to bo in violation of any appilcabis faderal, state or local
laws, ragulations or orders Notwithstanding the plorementiongd with respect to the Occupational Safoty end Health Act of 10070 (OSHA) and standants promulpalad there
under the Vendor warrants that the ordar will confarm lo the requirements of OSHA reguniicss of how thoy are uscd. ‘The Vendor egress that the Order wi be produced in
accordance with Soctions 6, 7 and ell applicable requirements of the Fair Labor Standards Act {f tia Order is & bo Used on a federal government contract, the Vendar ehail
comply with all provisions of the Federal Acquisition Regulations, 49 C F.R., Chapter 1, Paris 1-99 (f the Ordor wil.be used an a Department of Datonse contract, the Vendor
shall.cemply with all pravisions of the Federal Acquisition Reguiations, 45 CF.R . Chaplar 1, Parts 201-299, This Order chad be govemod by the laws of the Gommenweaith.cf
Konilucky, and any dlopute patween tho Vendor and WCC arising oul of or retailing fo this Order or a breach thercol, which [a not resolved by the partis. shall bo submitted fo «
judicial court of cdmpotent furisd:etion within Jetferson County, Kentucay, Tho Vendor further agrees that no dispute shall interfere with (he progress gt ths Vendor's deliverias
anu the Vendor agrees te proceed with ilu work as directed, dospite disputes fimay have with WCC, the Owner or other parties
H. CHANGES: WCC shail have ihe fight to make changes to the Order (Including additions and daletlons) for changes tn tho apocificaliens, drawings, design, quantity,
destination, packing instructions or delivery schedule. When WCC orders In wilting, tha Vendor, without nullsying this Order, shall make ny and al changes fn the Order which
ara wihin the genem!. scope of this Order. Adjustments tn tho Order piisa or mo, # any, resulting trom euch changes shall be sel ferth in a Change Order or 6 now Purchaso
Oider, prepared by WCC and signed by ihe Vendor stating thelr egreement All changes include and constitute the Vendor's full and complals compenssticn for all costs, direct
and indirect, and Eme reeulting from the work te be porformad undor tie change.
|. JOINT CRAFTING: WCC and the Vendor expressly agres that te Purchase Order Agroontont was joindy drahed, and that they both had an opportunity to obtain the
assistance of counsel in reviewing its terms prior to execution Therefore, the Purchase Order Agreament shall be construsd neither against nor In favor or aither party, but shal!
be construed in a neutral manner
JINSPECTIONS: WCC may Inspect the osder during ite manufacture, canstructian of preparation at ressonable imes and shall have the right to inspect the matéenate at the
tme of Biwir dativory andlor completion Thy Vendor shall gchodulo all tests (Including those by Independent Testing Labs): required by tho specifications or drawings
Notwithstanding the acceptance of approval and Inspections of the matoria{s) or portions thareo! oll matericis with defects or ncnconformives for which tre Vendor ts
rospensibia are raveated by subsequent Inspection, anelyels of otherwise, tha. Vendor shall al ts cost replace the defective or forming materials including the necessary
taber required for its replacement. — . ; /
X. DEDUCTIONS AND SET-OFF: Any sums payabte to the Vendor shall be subject fo.any clalma and defenses of WCC, wheter arising from this of any'othor transaction or
ecctrronce, WCC may eot-olf and deduct against any such sums all preeent and future indebtednasa of Vendor of any of lis. affliated. compantin,
L. WARRANTY: Tha Vencor warrants. tis materaks) agaliat a daficlencies-and dofecis In materials andior workmarahip and as-called for fn the Order. Uniass clhorwise
specitiad In WCC's contract with the Owner, the Vendor shall warrant ite matertal(e) a8 dseédbad above for @ poriod of-cite (4) year fram the date(s) Of substanval completion.
Repel or replacement of materlats alter substantial comploten/accoplance renews and restarts the warfanty period for those repsiredirepiaced sms, Tho Vendor Furiher
agrens to fumish any apecial warranties that shall be required In sceordonca with the Purchase Order Documents prior to final payment.
14; SUBSTITUTIONS: No:subatiutions shal be niade in the Ofder uriess poinitted In the Order and only tien upon tho Vendor first receiving al approvats required under the
contract for such substitutions,
N. GONTINGENT ASSIGNMENT of PURCHASE GROER The Contractor may assign this Purchase Order to the Owner ¥ required under the Contract, The assignment shall
bo effective anly when the Owner. (a) has terminated the Contract for causo, and (b) has accepted the aasignaent by natitying the Vendor in writing. The contingent assignment
is subject to tha prior'rights of a surety that may be obligated under the Contractor's bond, f any. Vendor hereby consents fo-suth sesignmunt and agrest to be bound to the
Quyner, a6 assigned; by the lorms of thia Purchase Order.
©. TERMINATION: Shoutd the Owner tonninata Re Contract with the Convector, or-any part which Includes thia Order or ai part thorcal, WCG shail so nalify the Vendar fn
writing within five (5) calendar days cf (ho termination and, upon written notiication; this Purchase Order Agraantant shail bo farminsted and the Vendor stall (mmediately stop
the Omer, follov: tho Contractor's instructions regarding.shutdown and termination procedures, and mitigate all costs In the evant that Ure Owner torminates i's Contact wilh
the Contractor for the convenience of the Owner, then the Contractors llibllty to the Vendor for any damages licurrad of claims resuiting from ve Owrier terminaten, shell be
extinginshed
P. PROTECTION OF MATERIAL: The Vendor specifically agrees that it Is rasponsible for the protection of his material untii eccoptance by WCC, end will make gaod or
reptace, af no expanse to WCC, losses and any damages to his matertai(s) which occura prior to dalivery. :
@ PATENT, COPYRIGHT or TRADEMARK INFRINGEMENT: Tho Vendor agrees to indomnify and hold harmless WCC and the Owner from any and al) casts, expenses,
ables and damages, including attomay’s feos which WCC or the Owner may incur In connection with any sull or claim of infiingemsnt of say copyright, badenratk or patent
by reason of manufacture, seid or uso of item(a) that aro past of this Order. ff so'required by WCC or the. Owner, the Vandor agroes to appear in ad asaume the defanse of any
iitigation to which WCC ox the Owner haa been made a pert which relates fo any such infringement.
R, MATERIAL SAFETY: Matariat Safely. Data Shoots (M505) sheets ae‘requlred by taw and pertaining to meterieia inctuded tn this Order sho bs subnitited to WCC wilh
gulbmieaion of shop drawings, and again when the. material ts delivered ta the sits,
8, PERMITS, FEES AND LICENSE: The Vondor shall secure snd pay for all permits, feos, lcensex, adsesenents, inspoclons and taxa necessary to dolar the Order.
T. DEFAULT: Either petty shall ba In default of this Order upon the occurrence of either pf the following events: I) The other party’s:Insotvency or actlons sndicating Insalventy
sueh ns tha fing of a podten by or against such party under any chapter of he banktuptey code, the sppointment of a receiver for such party, or such party's altempl fo mske a
general assignment for he benefit of crediters, or Gi) that party's fature to comply with any of Its Obligations for 0 period of three. days star noice thereof is glvan to ons party be
the other party
T1 NOTICE TO CURE: if the Vendor should fai! to comply with any of it obligations, disrégerds taws, ordinances, rules, roguiztions or ordets‘of any public authority having
jurisdiction, or otherwise Is guitty ofa breach of a provision of tho Purchase Order Oocuments, tho Vendor fs’ deamed to-bo In detault of thts Purchase Ordar. # the Vendor tats
within three (3) working days.alter written nofifiestion ta commence and cur (or contnus prompl.and dligant correction of euch datautt to tho satisfaction of WCC thon WCC
withoul projudice to any other rights or remedies, shati have the righ! to any of all of tha following fernedion.

{a} supply of contact to supply workers and matertals, equipment and other facditios os WCC dooms necossary tor the satisfactory and expeditious correction of such

dateutt and charge the cost theredf ta.tho Vendor, who shall be tapte for the paymont of samo meluding reasonable ovaread, profit and attornsys' (eee;

{b) Withheld payment of monlos.dus the Vendor,

{c) terminats tho omploymant of the Vendor for all or's peition of ha Purchase Ordor Work; and/or :

(d} in tho evant of un binergency altecting the ssfoty of persons or property, WOG may proceed to commence. ond continue ‘ailsfantory correction of such dnfault, without

* rat giving threo (3) working daya’ writter notice fo the Vendor, but shail giva prompt writen notice of auch action (a tha Subcontractor

U REMEDY: Any datautt by the: Vendor as sel ferth in T ‘DEFAULT wi be cause for cancellation of this Ordorif WCC a0 chooses (Il termination Ix ordered by WCC, then WOC
will have no further obligations teroundar .
¥, CANCELLATION FOR CONVENIENCE: WCC shail have the option at any timo (whether or ricl Vander 18 In dofaull} to cancol thus Order in whole of for thal portion of tho
Order that has not yet boon delivered. Such cancellafien shal he withovt cost to WCC provided the order is far standard stock goods whith'cen bo tevold by the Vender,
including services not yel provided, {n all ather cases the Vendor shall havo the right to compensation [n case of cancellation for Vondar's sotual cast incurred up to the date of

cancellation, provided thal such amount logathar with tha sum of pravicus payments nol exéced the total purchase price’ of the Onor, provided that tha Vendor deliver to WCC

any parbally or wholly completed Items prior to boing entitled ta payment Au claims for compensation under thie.soction shall be provided within [ive (S) dsys in writing from ino

 

Mendor. to WCC. Fokura to da so watvos all righia of the Vendor to claim compsnbstian,

W. LIMITATION OF ASSIGNMENT: Tho Vandnt may not esdign tts actor or any portiun Inereo! wally we pilot verian ccersal af WEG WOG in ds cols anu absatite
shscacnan may decate any negigemett withou the praper veiten consent tn he voxd No omeant or aceoplance of any ausiqninent oliad fiheve the Veitdnr freice dnlittne its
Inypeunsicbies undor itis Cider

%. WCC's RIGHTS ANO REMEDIES: Any dghts er remaces guantud te WCC in this Order nig at exclusive of, bit are in adcition ta any other ngits ru somadiass grasdtad li
any other past ol his Urder acu any other ngihts that WCC may have | aw un in oquiy .

¥. ENTIRE AGREEMENT: Uns document. together with any other documents or aucrmatnd tncarporttad harein hy roference, aint capstttes the eraa agrer stent Lewaers
the Vandot and WCC All pnul pr comemporaneous writen o1 ont agresmants including proposats and quote tire syparagdent Ly this ugéicermsnt

   
  

“ee Custom Solutions

 

 

| he ae
Dan Filleawarth
Owner ‘

Date ty Ase
